            Case 2:08-cr-00376-WBS-AC Document 635 Filed 04/25/16 Page 1 of 3



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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 2:08-CR-376-06 WBS
12                                 Plaintiff,               REQUEST AND
                                                            [PROPOSED] ORDER REGARDING
13   v.                                                     RELEASE TO GOVERNMENT OF
                                                            WRITTEN DEFENSE
14   LEONARD WILLIAMS,                                      COMMUNICATIONS PREVIOUSLY
                                                            FILED UNDER SEAL
15                                 Defendant.
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17
                                                   REQUEST
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             Plaintiff United States of America, by and through its undersigned counsel of record, hereby
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     requests that the Court issue an order directing the Clerk of the Court for the Eastern District of
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     California to release copies of the written communications filed under seal at ECF 548 in this matter
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     to the government for purposes of the appeal in this matter, based upon the following:
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          1. This case is currently on appeal to the Ninth Circuit Court of Appeals following defendant’s
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             conviction at trial in this Court. See United States v. Williams, 9th Cir. Case No. 15-10050.
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             Defendant has filed his opening brief, and the government is currently preparing its
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             answering brief, which is due May 11, 2016.
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          2. During trial defendant requested that his trial counsel be replaced due an alleged breakdown
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             between them. On July 21, 2014, a closed proceeding was held in which defendant argued to
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          REQUEST AND PROPOSED ORDER RE                 1
29        SEALED DEFENSE DOCUMENTS

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       Case 2:08-cr-00376-WBS-AC Document 635 Filed 04/25/16 Page 2 of 3



 1      the Court regarding this alleged breakdown. ECF 547. At that time, defendant provided the

 2      Court with various communications between himself and his trial counsel to support his

 3      argument that a breakdown had occurred. Those written communications were placed under

 4      seal by order of the Court. See ECF 548.

 5   3. In his appeal, defendant has argued that he was deprived of his Sixth Amendment right to

 6      counsel when his request for substitute appointed counsel was denied, and as a part of that

 7      claim he has challenged the outcome of the aforementioned July 21, 2014 proceeding. See

 8      United States v. Williams, 9th Cir. Case No. 15-10050, Dkt. 14 at 19-34.

 9   4. With his excerpts of record before the Ninth Circuit Court of Appeals, Defendant included a

10      copy of the transcript from the July 21, 2014, and by this Court’s order, the government also

11      has access to that previously sealed transcript. See Transcript of July 21, 2014 trial

12      proceedings, as included in defendant’s appellate excerpts of record, United States v.

13      Williams, 9th Cir. Case No. 15-10050, Dkt. 15 at 37-71.

14   5. Defendant did not include the written communication filed under seal at ECF 548 in his

15      excerpts of record to the Ninth Circuit, and the government does not currently have access to

16      those written communications. Following the closed hearing on July 21, 2014, this Court

17      made clear that in denying defendant’s motion for appointment of substitute counsel, the

18      Court had “considered all the written materials that [defendant] presented” when ruling on

19      defendant’s motion for substitute counsel, and that the Court would grant permission for the

20      government “to have the written materials” if the defendant raised this issue on appeal, as he

21      has now done. See Transcript of July 21, 2014 trial proceedings, as included in defendant’s

22      appellate excerpts of record, United States v. Williams, 9th Cir. Case No. 15-10050, Dkt. 15

23      at 70:10-24.

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     REQUEST AND PROPOSED ORDER RE                 2
29   SEALED DEFENSE DOCUMENTS

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           Case 2:08-cr-00376-WBS-AC Document 635 Filed 04/25/16 Page 3 of 3



 1      6. The government therefore requests that the Court order the Clerk of the Court to release to

 2          the undersigned government counsel copies of all documents filed under seal at ECF 548 in

 3          this case, so that the government may have a full and fair opportunity to respond to

 4          defendant’s claims on appeal.

 5      7. The government contacted defendant’s assigned counsel of record on Thursday, April 14, to

 6          inquire whether defendant would stipulate to this request. Though the government and

 7          defense counsel have subsequently been in contact, defense counsel has not stated the

 8          defense’s position with respect to this request.

 9 Dated: April 20, 2016                                       BENJAMIN B. WAGNER
                                                               United States Attorney
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11                                                    By: /s/ CHRISTOPHER S. HALES
                                                          CHRISTOPHER S. HALES
12                                                        AUDREY B. HEMESATH
                                                          Assistant United States Attorneys
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14
                                                  ORDER
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            Based on the circumstances set forth above:
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            IT IS HEREBY ORDERED that the Clerk of the Court shall release to government counsel
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     of record in this case copies of all documents filed under seal at ECF 548.
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19 DATED: APRIL 25, 2016
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        REQUEST AND PROPOSED ORDER RE                   3
29      SEALED DEFENSE DOCUMENTS

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